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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA
                                    ABINGDON

  UNITED STATES OF AMERICA                    )
                                              )
         v.                                   )
                                              )             Case No. 1:19cr00016
  INDIVIOR INC. (a/k/a Reckitt                )
  Benckiser Pharmaceuticals Inc.) and         )
  INDIVIOR PLC,                               )
    Defendants                                )

                UNITED STATES’ PROPOSED JURY INSTRUCTIONS

         The United States of America proposes the following jury instructions. The first

  instruction starts on the next page.
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                               Government’s Instruction No. 1
  Ladies and gentlemen of the jury, I'm going to give you final instructions now, since you
  will soon leave the courtroom to begin your deliberations. I will also send these
  instructions with you to allow you to review them again during your deliberations.
  As I told you earlier, the government has accused the defendants Indivior Inc. and
  Indivior plc of committing certain crimes. These are only charges. In order for you to find
  a defendant guilty, you must be convinced beyond a reasonable doubt that the defendant
  committed the crimes as charged. If you are not convinced beyond a reasonable doubt
  that the defendant committed the crimes as charged, you must find the defendant not
  guilty of that crime.
  During the course of the trial, you received all the evidence you may properly consider to
  decide the case. Your decision in the case must be made solely on the evidence presented
  at the trial. You should consider all the evidence that was presented to you.
  Do not allow sympathy or prejudice to influence you. The law demands of you a just
  verdict, unaffected by anything except the evidence, your common sense, and the law as I
  give it to you.
  At times during the trial you saw lawyers make objections to questions or to answers by
  witnesses. This simply means that the lawyers were requesting that I make a decision on
  a particular rule of law. Do not draw any conclusion from such objections, or from my
  rulings on the objections. These are only related to the legal questions I had to determine,
  and should not influence your thinking. If I sustained an objection to a question, the
  witness was not allowed to answer it. Do not attempt to guess what answer might have
  been given had I allowed the question to be answered. If I told you not to consider a
  particular statement, you were told to put that statement out of your mind, and you may
  not refer to that statement in your deliberations.
  Neither in these instructions nor in any ruling, action, or remark that I have made during
  the course of this trial have I intended to give any opinion or suggestion as to what your
  verdict should be. During this trial, I may have occasionally asked questions of witnesses
  in order to bring out facts not then fully covered in testimony. Do not assume that I hold
  any opinion on the matter to which my questions were related.
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                                Government’s Instruction No. 2
  It is my job to decide what rules of law apply to this case. I've explained some of these
  rules to you during the course of the trial, and I will explain others of them to you before
  you go to the jury room.
  While the lawyers may have properly commented during the trial on some of these rules,
  you are to be guided only by what I say about them. You must follow all the rules as I
  explain them to you. You may not follow some and ignore others. Even if you disagree or
  don't understand the reasons for some of the rules, you are bound to follow them.
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                               Government’s Instruction No. 3
  If you decide that the government has proved beyond a reasonable doubt that the
  defendants are guilty, it will also be my job to decide what the punishment will be.
  You should not try to guess what the punishment might be. It should not enter into your
  consideration or discussions at any time.
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                              Government’s Instruction No. 4
  The decision you reach in the jury room, whether guilty or not guilty, must be
  unanimous. You must all agree. Your deliberations will be secret. You will never have to
  explain your verdict to anyone.
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                                Government’s Instruction No. 5
  The law presumes a defendant to be innocent of a crime. Thus, a defendant, although
  accused, begins the trial with a clean slate. That is to say with no evidence against it, and
  the law permits nothing but legal evidence presented before the jury to be considered in
  support of any charge against a defendant. So, the presumption of innocence alone is
  enough to acquit the defendant unless the jurors are satisfied beyond a reasonable doubt
  of the defendant's guilt from all the evidence in the case. This presumption of innocence
  is an abiding presumption that goes with the defendant throughout the entire case and
  applies at every stage. As I have said many times, the government has the burden of
  proving the defendant's guilt beyond a reasonable doubt. Some of you may have served
  as jurors in civil cases where you were told that it was only necessary to prove that a fact
  is more likely true than not. In criminal cases, the government's proof must be more
  powerful than that; it must be beyond a reasonable doubt.
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                              Government’s Instruction No. 6
  An important part of your job will be making judgments about the testimony of the
  witnesses who testified in this case. You should decide whether you believe what each
  person had to say, and how important that testimony was. In making that decision I
  suggest that you ask yourself a few questions. Did the person impress you as honest? Did
  he or she have any particular reason not to tell the truth? Did he or she have a personal
  interest in the outcome of the case? Did the witness seem to have a good memory? Did
  the witness have the opportunity and ability to observe accurately the things he or she
  testified about? Did he or she appear to understand the questions clearly and answer them
  directly? Did the witness's testimony differ from the testimony of other witnesses? These
  are a few of the considerations that will help you determine the accuracy of what each
  witness said.
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                               Government’s Instruction No. 7
  There are two types of evidence that are generally presented during a trial: direct
  evidence and circumstantial evidence. Direct evidence is the testimony of a person who
  asserts a fact, or a document that reflects a fact. Circumstantial evidence is proof of a
  chain of facts and circumstances indicating the existence of a fact. The law makes no
  distinction between the weight or value to be given to either direct or circumstantial
  evidence. Nor is a greater degree of certainty required of circumstantial evidence than of
  direct evidence.
  While you should consider only the evidence in the case, you are permitted to draw such
  reasonable inferences from the testimony and exhibits as you feel are justified in the light
  of common experience. In other words, you may make deductions and reach conclusions
  which reason and common sense lead you to draw from the facts that have been
  established by the evidence in the case.
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                               Government’s Instruction No. 8
  During the trial, items were received into evidence as exhibits. The exhibits will be
  available in electronic format for viewing in the jury room, and the Clerk will show you
  how to view the exhibits. Examine the exhibits if you think it would help you in your
  deliberations.
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                                 Government’s Instruction No. 9
   A corporation may be held criminally responsible for acts of its officers, employees, or
   agents if they were acting within the scope of their authority, or apparent authority, and
   for the benefit of the corporation, even if such acts were against corporate policy or
   instructions.
   A corporation, through the conduct of its officers, agents, or employees, may be
   convicted of a crime, including a crime involving knowledge and willfulness. The
   officer's, employee’s, or agent's illegal conduct must be related to and done within the
   course of his employment and have some connection with the furtherance of the business
   of the corporation. So long as the criminal act is directly related to the performance of the
   duties which the officer, employee, or agent had the authority to perform, the corporation
   is liable for the criminal act.
   Acts are within the scope or course of employment or authority if they are of the kind
   which the officer, employee, or agent was authorized to perform, and must be motivated,
   at least in part, by an intent to benefit the corporation.
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                               Government’s Instruction No. 10
   Count One of the Superseding Indictment charges that the defendants conspired to
   commit mail fraud, wire fraud, and health care fraud.
   For you to find the defendants guilty of this crime, the government must prove each of
   the following elements beyond a reasonable doubt:
         1.     That at some time during the dates charged there was an agreement
                between two or more persons or entities to (a) commit health care fraud (as
                I will instruct you as to Count Two); (b) commit wire fraud, (as I will
                instruct you as to Counts Three through Six) or (c) mail fraud (as I will
                instruct you as to Counts Seven through Twenty-Eight); and
         2.     That the defendant voluntarily joined the conspiracy knowing its purpose
                and intending to help accomplish that purpose.
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                               Government’s Instruction No. 11
   A “conspiracy” is an agreement between two or more persons to join together to
   accomplish some unlawful purpose. It is a kind of partnership in crime, in which each
   member becomes the agent of every other member.
   One may become a member of a conspiracy without knowing all the details of the
   unlawful scheme or the identities of all of the other alleged conspirators. If a defendant
   understands the unlawful nature of a plan or scheme, and knowingly and intentionally
   joins in that plan or scheme on one occasion, that is sufficient to convict him for
   conspiracy, even if he had not participated before, and even if he played only a minor
   part. The government need not prove that the alleged conspirators entered into any formal
   agreement, nor that they directly stated between themselves all the details of the scheme.
   Similarly, the government need not prove that all of the details of the scheme alleged in
   the superseding indictment were actually agreed upon or carried out, nor must it prove
   that all of the persons alleged to have been members of the conspiracy were such, or that
   the alleged conspirators actually succeeded in accomplishing their unlawful objectives.
   However, mere presence at the scene of an event, even with knowledge that a crime is
   being committed, or the mere fact that certain persons have associated with each other,
   does not necessarily establish proof of the existence of the conspiracy. Also, a person
   who has no knowledge of a conspiracy, but who happens to act in a way that advances
   some purpose of a conspiracy, does not thereby become a conspirator.
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                               Government’s Instruction No. 12
   Count Two of the Superseding Indictment charges that the defendants knowingly and
   willfully executed and attempted to execute a scheme and artifice to (1) defraud health
   care benefit programs as defined in Title 18, United States Code, Section 24(b), including
   Medicaid, Medicare, other public health care programs, private insurance providers, and
   other health care benefit programs, and (2) obtain by means of materially false and
   fraudulent pretenses, representations, and promises, money and property owned by and
   under the custody and control of said health care benefit programs, in connection with the
   delivery of and payment for health care benefits, items, and services.
   For you to find the defendants guilty of Count Two, you must be convinced that the
   government has proved each of the following elements beyond a reasonable doubt:
         1.      The defendants executed or attempted to execute a scheme or artifice
                 intended to (a) defraud a health care benefit program or (b) obtain by
                 means of materially false and fraudulent pretenses, representations, and
                 promises, money and property owned by and under the custody and control
                 of said health care benefit programs, in connection with the delivery of and
                 payment for health care benefits, items, and services.; and
         2.      That the defendants knowingly and willfully executed or attempted to
                 execute that scheme.
   I instruct you that Medicare, Medicaid, and health insurance companies are health care
   benefit programs.
   The government need not prove that all the details of the scheme alleged in the
   indictment were actually carried out.
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                               Government’s Instruction No. 13
   Counts Three through Six of the Superseding Indictment charge that the defendants
   knowingly and willfully executed and attempted to execute a scheme and artifice to
   defraud and obtain money or property by materially false and fraudulent pretenses,
   representations, and promises, and for the purpose of executing and attempting to execute
   such scheme and artifice, caused to be delivered by mail or private or commercial
   interstate carrier according to the direction thereon, certain materials.
   For you to find the defendants guilty of Counts Three through Six, you must be
   convinced that the government has proved each of the following elements beyond a
   reasonable doubt:
      1. The defendants executed or attempted to execute a scheme or artifice intended to
         (a) defraud or (b) obtain money or property by means of materially false or
         fraudulent pretenses, representations, or promises;
      2. The defendants caused to delivered by mail or private or commercial interstate
         carrier certain materials as set forth in each count for the purpose of executing or
         attempting to execute the scheme; and
      3. That the defendants knowingly and willfully executed or attempted to execute that
         scheme.
   The government need not prove that the mailing was central or crucial to the scheme, but
   only that it was done for the purpose of executing or attempting to execute the scheme.
   The government need not prove that all the details of the scheme alleged in the
   indictment were actually carried out.
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                               Government’s Instruction No. 14
   Counts Seven through Twenty-Eight of the Superseding Indictment charge that the
   defendants knowingly and willfully executed and attempted to execute a scheme and
   artifice to defraud and obtain money or property by materially false and fraudulent
   pretenses, representations, and promises, and for the purpose of executing and attempting
   to execute such scheme and artifice, caused to be transmitted by wire communication or
   radio communication in interstate and foreign commerce, writings, signs, signals,
   pictures, and sounds.
   For you to find the defendants guilty of Counts Seven through Twenty-Eight, you must
   be convinced that the government has proved each of the following elements beyond a
   reasonable doubt:
      1. The defendants executed or attempted to execute a scheme or artifice intended to
         (a) defraud or (b) obtain money or property by means of materially false or
         fraudulent pretenses, representations, or promises;
      2. The defendants caused to be transmitted by wire communication or radio
         communication in interstate and foreign commerce, writings, signs, signals,
         pictures, and sounds; and
      3. That the defendants knowingly and willfully executed or attempted to execute that
         scheme.
   The government need not prove that the wire communication or radio communication
   was central or crucial to the scheme, but only that it was done for the purpose of
   executing or attempting to execute the scheme.
   The government need not prove that all the details of the scheme alleged in the
   indictment were actually carried out.
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                               Government’s Instruction No. 15
   “Intentionally” means to act deliberately and purposefully. That is, the act must have
   been the product of the defendant’s conscious objective rather than the product of a
   mistake or accident.
   “Knowingly” means to act intentionally and voluntarily, and not because of ignorance,
   mistake, accident, or carelessness. Whether the defendant acted knowingly may be
   proven by a defendant’s conduct and by all of the facts and circumstances surrounding
   the case.
   Intent or knowledge may not ordinarily be proven directly because there is no way of
   directly scrutinizing the workings of the human mind. In determining what the defendant
   knew or intended at a particular time, you may consider any statements made or acts done
   or omitted by the defendant and all other acts and circumstances received in evidence that
   may aid in your determination of the defendant’s knowledge or intent. You may, but are
   not required to, infer that a person intends the natural and probable consequences of acts
   knowingly done or omitted.
   You may find that the defendant acted “knowingly” and “willfully” if you conclude that
   he was “willfully blind” to what was obviously taking place. You may find that the
   defendant was “willfully blind” if the evidence proves beyond a reasonable doubt that he
   deliberately closed his eyes to what otherwise would have been obvious to him. That is,
   that he had a conscious purpose to avoid enlightenment.
   Stated another way, a defendant’s knowledge of a fact may be inferred from willful
   blindness to the existence of a fact. Actual knowledge and deliberate or conscious
   avoidance of knowledge are the same thing.
   On the other hand, for you to conclude that the defendant was “willfully blind” to the
   criminal nature of what was taking place, the evidence must show something more than
   careless disregard or mistake.
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                               Government’s Instruction No. 16
   The defendants are charged as principals and as aiders and abettors.
   A “principal” is a person who perpetrates a crime. But a person may violate the law even
   though he or she does not personally do each and every act constituting the offense if that
   person “aided and abetted” the commission of the offense.
   Before the defendant may be held responsible for aiding and abetting others in the
   commission of a crime, it is necessary that the government prove beyond a reasonable
   doubt that the defendant knowingly and deliberately associated himself in some way with
   the crime charged and participated in it with the intent to commit the crime.
   For you to find the defendant guilty as an aider and abettor, you must be convinced that
   the Government has proved each of the following elements beyond a reasonable doubt:
          1.     The defendant knew that the crimes charged were to be committed or were
                 being committed;
          2.     That the defendant knowingly did some act for the purpose of aiding or
                 encouraging the commission of that crime; and
          3.     That the defendant acted with the intention of causing the crimes charged to
                 be committed.
   Merely being present at the scene of the crime or knowing that a crime is being
   committed or is about to be committed is not sufficient conduct for you to find that the
   defendant aided and abetted the commission of that crime. The government must prove
   that the defendant knowingly associated himself with the crime in some way as a
   participant—someone who wanted the crime to be committed—not as a mere spectator.
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                               Government’s Instruction No. 17
   You must consider the evidence as to each count charged in this case separately. If the
   government fails to prove each of these elements as to any of these counts beyond a
   reasonable doubt, you must find the defendant not guilty of that count.
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                               Government’s Instruction No. 18
   A scheme is a plan or course of action formed with the intent to accomplish some
   purpose.
   An "intent to defraud" means an intent to deceive or cheat for the purpose of causing
   some financial loss to another or bringing about some financial gain to oneself.
   Intent or knowledge may not ordinarily be proven directly because there is no way of
   directly scrutinizing the workings of the human mind.
   In determining what the defendant knew or intended at a particular time, you may
   consider any statements made or acts done or omitted by the defendant and all other acts
   and circumstances received in evidence that may aid in your determination of the
   defendant's knowledge or intent. You may infer, but you are certainly not required to, that
   a person intends the natural and probable consequences of acts knowingly done or
   omitted.
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                                Government’s Instruction No. 19
   The words "knowingly and willfully" means that the act in question was done voluntarily
   and intentionally, and not by mistake or carelessness. If the jury finds that the defendant
   acted on any occasion solely by virtue of a good faith mistake or carelessness, then he
   cannot be found guilty of a crime charged in connection with that occasion. The
   defendant does not have any burden to prove his good faith mistake or carelessness. It is
   the government's burden to prove to you, beyond a reasonable doubt, that the defendant
   acted knowingly and willfully.
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                                Government’s Instruction No. 20
   The superseding indictment charges that certain events or conduct occurred "on or about"
   a specific date.
   The government does not have to prove that the events or conduct occurred on the exact
   dates alleged. Rather, it is sufficient if they occurred on a date reasonably near the date
   stated in the indictment.
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                                Government’s Instruction No. 21
   It is your duty as jurors to talk with one another and to deliberate in the jury room. You
   should try to reach an agreement if you can. Each of you must decide the case for
   yourself, but only after consideration of the evidence with the other members of the jury.
   While this is going on, do not hesitate to re-examine your own opinions and change your
   mind if you are convinced that you were wrong. But do not give up your honest beliefs
   solely because the others think differently, or merely to get the case over with. In a very
   real way you are judges, judges of the facts. Your only interest is to determine whether
   the government has proved the defendant guilty beyond a reasonable doubt.
   When you go to the jury room to begin considering the evidence in this case, you should
   first select one of the members of the jury to act as your foreperson. This person will help
   to guide your discussions in the jury room. Once you are there, if you need to
   communicate with me, the foreperson will send a written message to me. However, don't
   ever tell me how you stand as to your verdict, numerically or otherwise. As I mentioned
   several times, the decision you reach must be unanimous, you must all agree.
   Here is a verdict form, which I will send with you to the jury room. I will also send to the
   jury room with you a copy of the indictment. And again, I remind you that the indictment
   is not evidence of anything. It is simply a charge. And when you have reached a decision,
   and the verdict form is completed, you should have the foreperson sign the verdict form
   at the end, and tell the Clerk you are ready to return to the courtroom.
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                                       CERTIFICATE OF SERVICE

          I certify that on March 11, 2020, I electronically filed the foregoing Jury Instructions with

   the Clerk of Court via the CM/ECF system, which will send notification of the filing to all

   counsel of record in this matter.

                                                    /s/ Albert P. Mayer, VSB No. 86024
